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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                        CASE NO. 9:17-CV-80948-ROSENBERG

DAVID JACK WILKINSON,

          Plaintiff,

v.

FLORIDA POWER AND LIGHT
COMPANY,

          Defendant.
                                               /

                  ORDER STAYING CASE AND DIRECTING THE CLERK
            OF THE COURT TO CLOSE THIS CASE FOR STATISTICAL PURPOSES

          This cause is before the Court sua sponte. The Court has been informed that the parties have
reached a settlement agreement. Having been informed that the parties are in agreement and have
resolved all disputes, it is hereby ORDERED AND ADJUDGED:
          1.         This case is STAYED.

          2.         All pending deadlines are TERMINATED.

          3.         The parties are instructed to file any appropriate pleadings related to the dismissal of
                     this action within thirty (30) days of the date of rendition of this Order.

          4.         Any party may move for the stay imposed by this Order to be lifted or for an
                     extension of time to file appropriate pleadings related to the dismissal of this action.

          5.         All pending motions are DENIED AS MOOT.

          6.         The Clerk of the Court is directed to CLOSE THIS CASE FOR STATISTICAL
                     PURPOSES; this closure shall not affect the merits of any party’s claim.

          DONE and ORDERED in Chambers, Fort Pierce, Florida, this 6th day of December, 2017.


                                                           _______________________________
                                                           ROBIN L. ROSENBERG
                                                           UNITED STATES DISTRICT JUDGE
Copies furnished to Counsel of Record
